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  Attachment to Schedule A/B –
       Personal Property
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                                            ValuePros
                                          Appraisal Report
                                     Report Date: March 17, 2023
                                 Date of Examination: March 9, 2023
                            Effective Date of Examination: March 9, 2023
                                                                                Added after initial appraisal
Watches
    Rolex Oyster Perpetual Date                                   24,650                            1
    Tudor Geneve Chronometer                                       3,000                            2
    Tudor Geneve Chronometer                                       3,500                            3
    Tudor Geneve Chronometer                                       2,850                            4
    Tudor Geneve Chronometer                                       3,650                            5
    Tudor Geneve Chronometer                                         500                            6
    Tag Heuer AquaRacer                                            2,425                            7
    Tag Heuer AquaRacer                                            2,000                            8
    Tag Heuer Monaco                                               2,480                            9
    Tag Heuer Carrera                                              2,200                           10
    Victorinoc Swiss Army                                          1,190                           11
    Victorinoc Swiss Army                                            400                           12
    Victorinoc Swiss Army                                            300                           13
    Hamilton Automatic                                               475                           14
    Maratac                                                        1,478                           15
    Bering Titanium                                                  104                           16
    Sekonda                                                           55    12. Jewelry            17
                                                                           $     51,257




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Main House
    Nightstands - pair of matching Marge Carson Huntington             500
    Bed - King                                                         600
    Pakistan Rug                                                     1,500
    Closet Items                                                       500    6. Household
    Crystal Cluster Specimen                                           150       goods &
    Crystal tumbled specimen                                           200      furnishings
    Television                                                         560    7. Electronics
    Sofa                                                               400
    Patio Furniture                                                    750    6. Household
    Patio Furniture                                                    200       goods &
    Washer/Dryer                                                       640      furnishings
    Treadmill                                                        1,000    9. Equipment for sports & hobbies
    Refrigerator                                                       650
    Artwork                                                            100
    Bed - King                                                         150    6. Household
    Display                                                            350       goods &
    Artwork                                                             40      furnishings
    Monitor                                                            100    7. Electronics
    Closet items                                                       300    11. Clothes
    Dining set                                                         250
    Artwork                                                            200
    Dining set                                                       2,500    6. Household
    Rug                                                              2,000       goods &
    Grill - Traeger                                                    275     furnishings
    Cufflink - Pair of Jan Leslie                                      115    12. Jewelry
    Glasses - Sunglasses - Prada Linea Rossa                            80
    Glasses - Sunglasses - Maui Jim Prescription                        60
    Glasses - OVVO prescription glasses                                 70       14. Other
    Electric Bikes (Zugo Rhino & two Bakcou Mules)                   1,385    9. Equipment for sports & hobbies
    Coins silver                                                     1,680    8. Collectibles
    Sunglasses - Ray Ban (3 pair)                                       630
    Sunglasses - Ray Ban (3 pair)                                        5      14. Other
                                                                                    17,940
                               Estimated liquidation value                                     69,197
                                                             Check                                -




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Part 3
     6. Household goods & furnishings                                 11,955
     7. Electronics                                                      660
     8. Collectibles                                                   1,680
     9. Equipment for sports & hobbies                                 2,385
     10. Firearms *
     11. Clothes                                                         300
     12. Jewelry                                                      51,372
     14. Any other personal & household items                            845

  * Firearms were a separate appraisal, see * below                   69,197


    14. Reconciliation to match SOFA, Part 3, # 14
    14. Any other personal & household items                             845
    14. Cryoniq machine *                                              4,000

                                                                       4,845

    * Peter B. Marusich
    Cryoniq LLC
    479 384 5656
    Was valued by manufacturer separately from ValuePros

    Per email of March 20, 2023
    There are only 332 sessions on the counter and it appears the

    ValuePros Estimated liquidation value                             69,197
    Cryoniq LLC valuation                                              4,000
    Mike Cargill of Gun Works firearm valuation *                     73,744
    Value for cat                                                        200
    Total                                                            147,141

    Total on SOFA Form 106, Part 3                                   147,141

                                                             Check       -




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                                                     ValuePros
                                                   Appraisal Report
                                              Report Date: March 24, 2023
                                          Date of Examination: March 9, 2023
                                     Effective Date of Examination: March 9, 2023
                                                       Lake House

Golf Carts
     Golf Cart                                                       8,000
                                                                             9. Equipment for
     Golf Cart                                                       8,000   sports & hobbies
Appliances
     Freezer                                                           50    6. Household
     Grill                                                             50       goods &
     Washer & Dryer                                                   400     furnishings

Furniture
     Dining Table & Chairs                                            650 6. Household
     Armchair                                                          35      goods &
     Bed                                                              140    furnishings
     Television                                                       400
     Television                                                       200
     Television                                                        45
     Television                                                       400 7. Electronics
     Table                                                            200
     Dresser                                                          110
     Dresser                                                          100
     Table                                                             75
     Crib                                                             200
     Bed                                                              140 6. Household
     Bed                                                              140     goods &
     Bed                                                              170 furnishings
Outdoor
     Outdoor Set - Furniture                                          300
     Outdoor Console                                                  150
     Dining set                                                       850 6. Household
     Furniture                                                        200    goods &
     Fire Pit                                                          20 furnishings
Other
     Table Tennis                                                     120 9. Equipment for sports & hobbies
                                                                                21,145

                                Estimated liquidation value                         90,342
                                                         Check                         -
Part 3
     6. Household goods & furnishings                                3,980
     7. Electronics                                                  1,045
     8. Collectibles
     9. Equipment for sports & hobbies                              16,120
     10. Firearms
     11. Clothes
     12. Jewelry
     14. Any other personal & household items

                                                                    21,145




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                                                                                                                                                                                          HJK Added
       MANUFACTURE                  MODEL                       TYPE          CALIBER     S/N           DESCRIPTION                                   CONDITION    $ VALUE (L-H)   * Low Value ** High Value

1.)    BARRETT                      M107A1                      RIFLE         .50         AE000753      FDE, CNIGHT FORCE OPTICS SCOPE                USED- GOOD   $9-14K               9,000        14,000
2.)    REMINGTON                    700                         RIFLE         .308        RR42041H      VORTEX SCOPE                                  USED- FAIR   $500-1,200             500         1,200
3.)    REMINGTON                    700                         RIFLE         .308        C6368982      SPRINGFIELD SCOPE                             USED- FAIR   $500-1,300             500         1,300
4.)    HK                           SP5K                        PISTOL(BRC)   9MM         215-000696    HOLOSUN HE510C GR OPTIC                       USED-GOOD    $2-3K                2,000         3,000
5.)    FALKOR DEFENSE               FD-9S                       PISTOL(BRC)   MULTI       0001199       CAMO                                          USED-GOOD    $1,200-1,400         1,200         1,400
6.)    FALKOR DEFENSE               FD-9S                       PISTOL(BRC)   MULTI       0001143       VORTEX SPITFIRE OPTIC                         USED-GOOD    $1,200-1,700         1,200         1,700
7.)    KRISS                        VECTOR SDP                  PISTOL(BRC)   9MM         919P003931    FDE, EOTECH HWS EXPS2                         USED-GOOD    $1,400-2K            1,400         2,000
8.)    KRISS                        VECTOR SDP                  PISTOL(BRC)   10MM        10P001394     EOTECH HWS EXPS2                              USED-GOOD    $1,400-2K            1,400         2,000
9.)    SONS OF LIBERTY              M4                          RIFLE         MULTI       1776-113721                                                 USED-GOOD    $1,200-1,800         1,200         1,800
10.)   SPIKE'S TACTICAL             SR15                        PISTOL(BRC)   MULTI       SKU0329       VORTEX SOARC AR OPTIC                         USED-GOOD    $1,500-2K            1,500         2,000
11.)   HEAD DOWN PRODUCTS LLC       PROVECTUS                   RIFLE         MULTI       PR000546                                                    USED-GOOD    $759-1,100             759         1,100
12.)   JESSE JAMES                  NOMAD 10                    RIFLE         260REM      JJFU400037    VORTEX RAZOR SCOPE, BY-POD                    USED-GOOD    $5,500-8,999         5,500         8,999
13.)   SPRINGFIELD                  M1A                         RIFLE         .308        196737        SLING                                         USED-FAIR    $1,200-1,800         1,200         1,800
14.)   LWRC                         REPR                        RIFLE         7.62X51R    74-10660                                                    USED-GOOD    $2,200-4,599         2,200         4,599
15.)   HEAD DOWN PRODUCTS LLC       ARCADIUS                    RIFLE         .308        AC000104      FDE                                           USED-GOOD    $759-1,100             759         1,100
16.)   BERETTA                      A400 EXTREME PLUS           SHOTGUN       12GA        WA046195      28", 3.5" CHMBR, GORE OPTIFADE MARSH FINISH   USED-GOOD    $1,200-2,000         1,200         2,000
17.)   BERETTA                      A400 EXTREME PLUS           SHOTGUN       12GA        WA045073      28", 3.5" CHMBR, GORE OPTIFADE MARSH FINISH   USED-GOOD    $1,200-2,000         1,200         2,000
18.)   MOSSBERG                     935                         SHOTGUN       12GA        AM01396       26"                                           USED-GOOD    $575-699               575           699
19.)   TRISTAR                      RAPTOR                      SHOTGUN       12GA        KRA003256                                                   USED-GOOD    $490-599               490           599
20.)   MOSSBERG                     930 TACTICAL                SHOTGUN       12GA        AF0047352     18.5"                                         USED-GOOD    $950-1,100             950         1,100
21.)   MOSSBERG                     930 TACTICAL                SHOTGUN       12GA        AF0047346     18.5"                                         USED-GOOD    $950-1,100             950         1,100
22.)   BAIKAL (RUSSIA) / EAA CORP   IZH-43 / BOUNTY HUNTER II   SHOTGUN       12GA        9902240       SBS                                           USED-FAIR    $700-900               700           900
23.)   IAC MICHINA                  99 1887 COACH GUN           SHOTGUN       12GA        604993        SBS, CHINA S.D.2.                             USED-GOOD    $300-500               300           500
24.)   KELTEC                       KSG                         SHOTGUN       12GA        XFQ57                                                       USED-GOOD    $749-899               749           899
25.)   NORINCO                      MAK-90 SPORTER              RIFLE         2.62X39M    9472101       SLING                                         USED-GOOD    $1,399-2,175         1,399         2,175
26.)   ROMARM/ SA./ CUGIR           0                           RIFLE         2.6X39M     S1-02200-99   ROMAN, SLING                                  USED-GOOD    $1,100-1,375         1,100         1,375
27.)   ARSENAL                      MODEL SLR-95                RIFLE         7.62X39M    IM-37-2398    SLING                                         USED-GOOD    $2,100-2,499         2,100         2,499
28.)   IZHMASH / FIME GROUP         SAIGA                       RIFLE         7.62X39MM   X12100640                                                   USED-GOOD    $2,200-2,650         2,200         2,650
29.)   ZASTAVA                      ZPAPM70                     RIFLE         7.62X39MM   270-112967                                                  USED-GOOD    $1,040-1,100         1,040         1,100
30.)   BERETTA                      21A(TB)                     PISTOL        .22LR       DAA617555                                                   USED-GOOD    $599-649               599           649
31.)   RUGER                        MK3                         PISTOL        .22LR       227-34976                                                   USED-FAIR    $329-425               329           425
32.)   SIG SAUER                    P365 XL                     PISTOL        9MM         66A469556                                                   USED-GOOD    $529-699               529           699
33.)   WALTHER                      P22                         PISTOL        .22LR       L095274                                                     USED-GOOD    $315-449               315           449
34.)   HK                           USP                         PISTOL        .45 AUTO    25-018598                                                   USED-GOOD    $899-1,089             899         1,089
35.)   GLOCK                        26GEN4                      PISTOL        9MM         BCSX305                                                     USED-GOOD    $499-550               499           550
36.)   GLOCK                        31                          PISTOL        .357        EGN668                                                      USED-GOOD    $509-619               509           619
37.)   GLOCK                        34                          PISTOL        9MM         BDAF237                                                     USED-GOOD    $579-875               579           875
38.)   MAGNUM RESEARCH              DESERT EAGLE                PISTOL        44MAG       DK0029415                                                   USED-GOOD    $1,479-1,769         1,479         1,769
39.)   COLT                         1911 GOVERNMENT MODEL       PISTOL        COLT .45    SUBFORCE012   SILENT SERVICE DOLPHIN CODE 62                USED-GOOD    $3,299-3,999         3,299         3,999
40.)   COLT                         1911 GOVERNMENT MODEL       PISTOL        .45         CV32607       100 YEARS OF SERVICE                          USED-GOOD    $1,499-1,795         1,499         1,795
41.)   KIMBER                       1911 PRO CDP 2              PISTOL        .45ACP      KR71828                                                     USED-GOOD    $979-1,270             979         1,270
42.)   CZ                           SHADOW 2                    PISTOL        9MM         F021993                                                     USED-GOOD    $1,100-1,400         1,100         1,400
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       MANUFACTURE                    MODEL                      TYPE       CALIBER                S/N         DESCRIPTION                      CONDITION   $ VALUE (L-H)   * Low Value   ** High Value
43.)   TAURUS                         THE JUDGE                  REVOLVER   .410/.45LC             D2335235    3 INCH                           USED-GOOD   $299-499               299             499
44.)   SMITH & WESSON                 500                        REVOLVER   500 SW MAGNUM          CXZ4517                                      USED-GOOD   $1,100-1,570         1,100           1,570
45.)   STOEGER/UBERTI                 SCHOFIELD                  REVOLVER   .45COLT                F12854                                       USED-GOOD   $899-1,599             899           1,599
46.)   SMITH & WESSON                 60-14                      REVOLVER   .357 MAG               C207851                                      USED-GOOD   $559-759               559             759
47.)   TAURUS                         85                         REVOLVER   .38 SPL                GY64042                                      USED-FAIR   $229-399               229             399
48.)   STRUM, RUGER                   SP101                      REVOLVER   .357 MAG               573-00926                                    USED-GOOD   $619-729               619             729
49.)   SMITH & WESSON                 M31-3                      REVOLVER   .32 S&W LONG           BKC4689                                      USED-FAIR   $499-869               499             869

                                                                                                                                                                                62,089         89,606

       Received February 22, 2023
       Mike Cargill of Central Texas Gun Works, a licensed FFL

   * Low is amount a dealer would pay
  ** Retail

50.)   9mm Glock                      42                         Reolver                                       Cabella's as of March 20, 2023   USED-GOOD                          444 new
51.)   9mm Glock                      43                         Reolver                                       Cabella's as of March 20, 2023   USED-GOOD                          500 new
52.)   9mm Glock                      43                         Reolver                                       Cabella's as of March 20, 2023   USED-GOOD                          500 new
53.)   Falkor Petra                   Petra                      Rifle      300 Win Mag 22" Barrell Black                                       USED-GOOD                        5,912
54.)   Staccata                       XC                         Pistol                                                                         USED-GOOD                        4,299

                                                                                                                                                                                11,655

                                                                                                                                                                                73,744
